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                                                                   USDC SDNY
UNITED STATES DISTRICT COURT                                       DOCUMENT
SOUTHERN DISTRICT OF NEW YORK                                      ELECTRONICALLY FILED
UNITED STATES OF AMERICA,                                          DOC #: __________________
                                                                   DATE FILED: _4/5/2020____

               -against-
                                                                                 16 Cr. 194 (AT)
MORRIS E. ZUKERMAN,
                                                                                     ORDER
                               Defendant.
ANALISA TORRES, District Judge:

       On the application of the BOP, ECF No. 118, seeking clarification of the Court’s order dated

April 3, 2020 (the “April 3 Order”), ECF No. 116, it is ORDERED that the sentence imposed on

Zukerman on March 21, 2017 (the “original sentence”), ECF No. 58, as modified by the April 3

Order, is further amended as follows:

       Zukerman’s sentence of imprisonment is modified to time served. However, the remaining

portion of the original term of imprisonment (as calculated by the BOP), shall be served as

supervised release with the special condition that Zukerman shall be subject to home incarceration—

the most restrictive form of home confinement—without the requirement of electronic monitoring,

followed by the one-year term of supervised release imposed in the original sentence. Upon his

release, Zukerman shall self-quarantine at home for a 14-day period. The BOP is directed to release

Zukerman immediately.

       The Clerk of Court is directed to terminate the motions at ECF Nos. 117 and 118.

       SO ORDERED.

Dated: April 5, 2020
       New York, New York
